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  8                        UNITED STATES DISTRICT COURT
  9
                          CENTRAL DISTRICT OF CALIFORNIA
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 11
      THOMAS FEW,                            CASE NO: 2:18-cv-09531-JLS-DFM
 12
                   Plaintiff,                JUDGMENT
 13
 14          v.
                                             Hon. Josephine L. Staton
 15   UNITED TEACHERS LOS ANGELES,
      et al.,
 16
                          Defendants.
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Case 2:18-cv-09531-JLS-DFM Document 87 Filed 02/26/20 Page 2 of 2 Page ID #:744




  1                                       JUDGMENT
  2         Pursuant to this Court’s February 10, 2020 Order Denying Plaintiff’s Motion
  3   for Summary Judgment and Granting Defendant’s Motion for Summary Judgment
  4   (Doc. 85),
  5         IT IS HEREBY ADJUDGED that Plaintiff’s claims are dismissed with
  6   prejudice, and JUDGMENT IS HEREBY ENTERED against Plaintiff Thomas Few
  7   and in favor of Defendants United Teachers Los Angeles; Austin Beutner, in his
  8   official capacity as Superintendent of Los Angeles Unified School District; and
  9   Xavier Becerra, in his official capacity as Attorney General of California.
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 11   Date: February 26, 2020
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 14                                   __________________________________
 15                                   Honorable Josephine L. Staton
                                      United States District Judge
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